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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

THOMAS GIGER,                                )
                                             )
                Plaintiff,                   )
                                             )
          vs.                                )         No. 4:14-CV-1016-CEJ
                                             )
SIX FLAGS ENTERTAINMENT                      )
CORP.,                                       )
                                             )
                Defendant.                   )


                             MEMORANDUM AND ORDER

      This matter is before the Court on plaintiff=s motion for leave to proceed in

forma pauperis [Doc. #2]. The Court finds that plaintiff is financially unable to pay

the filing fee, and therefore, the motion will be granted.           Additionally, after

carefully reviewing the complaint, the Court will dismiss this action pursuant to 28

U.S.C. ' 1915(e)(2)(B).

                                  28 U.S.C. ' 1915(e)

      Pursuant to 28 U.S.C. ' 1915(e)(2)(B), the Court may dismiss a complaint

filed in forma pauperis if the action is frivolous, malicious, fails to state a claim upon

which relief can be granted, or seeks monetary relief against a defendant who is

immune from such relief. An action is frivolous if Ait lacks an arguable basis in
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either law or in fact.@ Neitzke v. Williams, 490 U.S. 319, 328 (1989). An action

fails to state a claim upon which relief can be granted if does not plead Aenough facts

to state a claim to relief that is plausible on its face.@ Bell Atlantic Corp. V.

Twombly, 127 S. Ct. 1955, 1974 (2007).

      In reviewing a pro se complaint under ' 1915(e)(2)(B), the Court must give

the complaint the benefit of a liberal construction. Haines v. Kerner, 404 U.S. 519,

520 (1972). The Court must also weigh all factual allegations in favor of the

plaintiff, unless the facts alleged are clearly baseless. Denton v. Hernandez, 504

U.S. 25, 32-33 (1992).

                                     Discussion

      Plaintiff brings this action against Six Flags Entertainment Corporation,

seeking monetary damages in the sum of $15 million. The complaint is comprised

of a list of random phrases that refer to breach of contract, fraudulent information,

and defamation. Part of the complaint is a "Declaration of Executorship," in which

plaintiff states, "As a true person is both Executor and Beneficiary of their mind,

body, and soul, no party may rightfully claim higher authority to compel them to

attend any forum or event against their will," and "Please note that you are

interfering with the original agreement established between Thomas son of Martin,

family of Giger otherwise known as Thomas, Giger and any violation heretofore at

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present and 'or hereafter the Presenter of This Presentment and the Sovereign Lord

and Only True God, Jehovah the King of all eternity. A trust agreement that he

Thomas son of Martin, executor' – Grantor over the entity Thomas Giger, and all

property agreements/rights/and privileges associated with the aforesaid is a part to,

as a matter of inheritance right and progeny." Having carefully reviewed the

complaint, the Court finds it impossible to ascertain the nature of plaintiff=s

allegations.

      The Federal Rules of Civil Procedure require litigants to formulate their

pleadings in an organized and comprehensible manner. Even pro se litigants are

obligated to plead specific facts and proper jurisdiction and must abide by the

Federal Rules of Civil Procedure; however, plaintiff has failed to do so in this case.

See U.S. v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994); Fed.R.Civ.P. 8(a)(2) (complaint

should contain short and plain statement of claims); Fed.R.Civ.P. 8(e)(2) (each

claim shall be simple, concise, and direct); Fed.R.Civ.P. 10(b) (parties are to

separate their claims within their pleadings Athe contents of which shall be limited as

far as practicable to a single set of circumstances@). Although plaintiff=s complaint

is to be given the benefit of a liberal construction, the Court will not create facts or

claims that have not been alleged. Plaintiff is required to set out not only his

alleged claims in a simple, concise, and direct manner, but also the facts supporting

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his claims as to each named defendant. Because plaintiff has failed to do so, and

the complaint is nonsensical, the Court will dismiss this action as legally frivolous.

      Accordingly,

      IT IS HEREBY ORDERED that plaintiff=s motion to proceed in forma

pauperis [Doc. #2] is granted.

      IT IS FURTHER ORDERED that the Clerk shall not issue process or cause

process to issue, because the complaint is legally frivolous and fails to state a claim

upon which relief can be granted. See 28 U.S.C. ' 1915(e)(2)(B).

      A separate Order of Dismissal will accompany this Memorandum and Order.

      Dated this 25th day of June, 2014.




                                           UNITED STATES DISTRICT JUDGE




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